 Case 2:16-cv-02271-PKH Document 13             Filed 01/04/17 Page 1 of 1 PageID #: 50



                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION

LARRY BEAM                                                                        PLAINTIFF

v.                               Case No. 2:16-CV-02271

BARCLAYS BANK                                                                   DEFENDANT


                                       JUDGMENT

      For the reasons set forth in the Court’s opinion and order filed on January 4, 2017 (Doc.

12), IT IS ORDERED AND ADJUDGED that Plaintiff’s claims against Defendant Barclays Bank

are DISMISSED WITHOUT PREJUDICE.

      IT IS SO ORDERED AND ADJUDGED this 4th day of January, 2017.


                                                         /s/P. K. Holmes, III
                                                         P.K. HOLMES, III
                                                         CHIEF U.S. DISTRICT JUDGE
